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 4
                              UNITED STATES DISTRICT COURT
 5
                           EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                  )
 7                                              )    NO.       CR-08-0137-WFN-39
                              Plaintiff,        )
 8                                              )
           -vs-                                 )    ORDER DISMISSING
 9                                              )    INDICTMENT
     NICHOLAS JOSEPH KLOEPFEL,                  )
10                                              )
                              Defendant.        )
11
12        A sentencing hearing was held for Defendant in CR-08-0154-FVS-1. Pursuant to the
13 Plea Agreement in that case, the Government moves that the Indictment in the instant case
14 be dismissed without prejudice. The Court prefers to dismiss with prejudice, so waited to
15 grant the Government's Motion until judgment had been entered in the other Indictment and
16 the time for appeal had run. The Court has reviewed the file and Motion and is fully
17 informed. Accordingly,
18        IT IS ORDERED that:
19        1. The Government's Motion for Order of Dismissal Without Prejudice, filed
20 September 23, 2009 , Ct. Rec. 1602, is GRANTED in part.
21        2. The Indictment shall be DISMISSED with prejudice as to Nicholas Joseph
22 Kloepfel.
23        3. The Government's Motion to Expedite Hearing, filed September 23, 2009, Ct. Rec.
24 1603, is GRANTED. The underlying Motion was considered on an expedited basis.
25        The District Court Executive is directed to file this Order and provide copies to
26 counsel.


     ORDER - 1
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 1           DATED this 6th day of October, 2009.
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 3                                                 s/ Wm. Fremming Nielsen
                                                      WM. FREMMING NIELSEN
 4   09-23                                     SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 2
